            Case 3:21-cr-00735-TWR Document 48 Filed 09/28/21 PageID.115 Page 1 of 5

'AO 245B (CASO Rev. 1/19) Judgment in a Criminal Case
                                                                                                               FILED
                                        UNITED STATES DISTRICT CO                                         CLERK. U.S. DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA                             SOUTHERN DISTRICT OF CAUFORNIA
                                                                                                                                  .QEP�TY
              UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                   V.                               (For Offenses Committed On or After November I, 1987)
                ELIJAH LEVERN MILLER ( 1 )
                                                                       Case Number:          3:21-CR-00735-TWR

                                                                    David J Zu�an
                                                                    Defendant's Attorney
USM Number                         96622-298
 □
THE DEFENDANT:
[8J pleaded guilty to count(s)           1 of the Superseding Information

D was found guilty on count(s)
      after a plea ofnot guilty.
Accordingly, the defendaot is adjudged guilty of such count(s), which involve the following offense(s):

Title and Section / Nature of Offense                                                                                    Connt
21:84 l (a)( l ) - Possession OfMethamphetamine With Intent To Distribute                                                  ls




    The defendant is sentenced as provided in pages 2 through                 5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

18J Count(s) I ofthe underlying Information                   is         dismissed on the motion of the United States.

[gJ   Assessment : $100.00 imposed


□     NTA Assessment*: $

      *Justice for Victims ofTrafficking Act of 2015, Pub. L. No. 1 14-22.
l8J No fine                    D Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                   Sentemher 24 202]
                                                                   Date of Imposition of Sentence


                                                                        ��,.,J4��
                                                                   HON. TODD W. ROBINSON
                                                                   UNITED STATES DISTRICT JUDGE
           Case 3:21-cr-00735-TWR Document 48 Filed 09/28/21 PageID.116 Page 2 of 5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                 ELIJAH LEVERN MILLER ( 1 )                                              Judgment - Page 2 of 5
CASE NUMBER:               3:21-CR-00735-TWR

                                                   IMPRISONMENT
 The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a total term of:
 42 months




 □     Sentence imposed pursuant to Title 8 USC Section 1 326(b).
 [g]   The court makes the following recommendations to the Bureau of Prisons:
          1 . Residential Drug Abuse Program (RDAP)
          2. Designation to a facility in the South-Central Region to facilitate RDAP participation and family
              visits


 □     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant must surrender to the United States Marshal for this district:
       □       at _________ A.M.                               on
       □       as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
□      Prisons:
       □       on or before
       □       as notified by the United States Marshal.
       □       as notified by the Probation or Pretrial Services Office.

                                                        RETURN
I have executed this judgment as follows:

       Defendant delivered on       -------------                          to

at _       _      _   __        _    _
                                     _     _ , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL



                                                                                                3:21-CR-00735-TWR
              Case 3:21-cr-00735-TWR Document 48 Filed 09/28/21 PageID.117 Page 3 of 5

   AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

    DEFENDANT:               ELIJAH LEVERN MILLER (1)                                                    Judgment - Page 3 of 5
    CASE NUMBER:             3:21-CR-00735-TWR

                                                SUPERVISED RELEASE
Upon release from imprisomnent, the defendant will be on supervised release for a term of:
3 years

                                             MANDATORY CONDITIONS
I . The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
    controlled substance. The defendant must submit to one drug test within 15 days of release from imprisomnent and at least
    two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
    than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
          D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
             risk of future substance abuse. (check if applicable)
4.  □  The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
    a sentence of restitution. (check if applicable)
5. [:gjThe defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. □ The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
    20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
    the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
    applicable)
7. D The defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




                                                                                                      3:21 -CR-00735-TWR
             Case 3:21-cr-00735-TWR Document 48 Filed 09/28/21 PageID.118 Page 4 of 5

  AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

  DEFENDANT:                  ELIJAH LEVERN MILLER (1)                                                               Judgment - Page 4 of 5
  CASE NUMBER:                3:21-CR-00735-TWR

                                      STANDARD CONDITIONS OF SUPERVISION
As part of the defendant's supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant's behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant's conduct and condition.

I. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant mnst report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. Ifthe defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least IO days before the change. Ifnotifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware ofa change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   permit the probation officer to take any items prohibited by the conditions oftheir supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type ofemployment, unless the probation officer
   excuses the defendant from doing so. Ifthe defendant does not have full-time employment the defendant must try to fmd full­
   time employment, unless the probation officer excuses the defendant from doing so. Ifthe defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. Ifnotifying the probation officer at least 1 0 days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours ofbecoming aware ofa
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. Ifthe defendant
   knows someone has been convicted ofa felony, they must not knowingly communicate or interact with that person without
   first getting the permission ofthe probation officer.

9. Ifthe defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a firearm, aoununition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such
    as nunchakus or lasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission ofthe court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confmn that the defendant notified the person about the risk.

13. The defendant must follow the instructions ofthe probation officer related to the conditions of supervision.


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           Case 3:21-cr-00735-TWR Document 48 Filed 09/28/21 PageID.119 Page 5 of 5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 DEFENDANT:                 ELIJAH LEVERN MILLER (1)                                                            Judgment - Page 5 of 5
 CASE NUMBER:               3:21-CR-00735-TWR

                                      SPECIAL CONDITIONS OF SUPERVISION



1 . Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

2. Resolve all outstanding warrants within 90 days.

3. Submit your person, property, house, residence, vehicle, papers, [computers (as defined in 1 8 U.S.C. §
I 030(e)(1 )), other electronic communications or data storage devices or media,] or office, to a search conducted by a
United States probation officer. Failure to submit to a search may be grounds for revocation of release. The offender
must warn any other occupants that the premises may be subject to searches pursuant to this condition. An officer
may conduct a search pursuant to this condition only when reasonable suspicion exists that the offender has violated
a condition of his supervision and that the areas to be searched contain evidence of this violation. Any search must
be conducted at a reasonable time and in a reasonable manner.

4. Not enter any gambling establishment without the permission of the probation officer and/or the Court.

5. Attend Gamblers Anonymous meetings as directed by the probation officer.

6. Participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
necessary by the probation officer. Such program may include group sessions led by a counselor, or participation in a
program administered by the probation office. May be required to contribute to the costs of services rendered in an
amount to be determined by the probation officer, based on ability to pay.

7. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as directed by the probation
officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer, based on ability to pay.




II




                                                                                                            3:21-CR-00735-TWR
